         Case:5:18-cv-05919-BLF
         Case  19-16468, 10/18/2019, ID: 11469057,
                                  Document         DktEntry:
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                                                      10/18/19

                    UNITED STATES COURT OF APPEALS
                                                                       FILED
                             FOR THE NINTH CIRCUIT
                                                                       OCT 18 2019
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS




 COURTNEY SILVERMAN,                               No. 19-16468
 individually and on behalf of all others
 similarly situated,
                                                   D.C. No. 5:18-cv-05919-BLF
               Plaintiff - Appellant,              U.S. District Court for Northern
                                                   California, San Jose
   v.
                                                   ORDER
 MOVE, INC., a California corporation
 and NATIONAL ASSOCIATION OF
 REALTORS, an Illinois corporation,

               Defendants - Appellees.



        The motion filed by the appellant on October 14, 2019 for voluntary

dismissal of this appeal is granted. This appeal is dismissed. See Fed. R. App. P.

42(b); 9th Cir. R. 27-9.1.

        This order shall constitute the mandate.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

                                               By: Tina S. Price
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7
